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1     Marc Wolstenholme
      5 Shetland Close
2
      Coventry, England CV5 7LS
3     Telephone: 044 7827964404
      Email: marc@mvwolf-fiction.co.uk
4     Plaintiff in Pro Per
5

6                                UNITED STATES DISTRICT COURT

7                               CENTRAL DISTRICT OF CALIFORNIA
8

9
      MARC WOLSTENHOLME,                             CASE NO. 2:25-CV-00053-FMO-BFM
10
                   Plaintiff,                        HON. FERNANDO M. OLGUIN
11
      vs.
12
                                                     PLAINTIFF'S OPPOSITION TO
13    RIOT GAMES, INC.,                              DEFENDANT'S REQUEST FOR JUDICIAL
                                                     NOTICE AND MOTION TO BIFURCATE
14                 Defendant
                                                     DISCOVERY
15    Dated this: 05 FEBRUARY 2025

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                                                   [MARC WOLSTENHOLME]
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                                                 1
28    PLAINTIFF'S OPPOSITION TO DEFENDANT'S REQUEST FOR JUDICIAL NOTICE AND MOTION TO BIFURCATE
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1                    I.      INTRODUCTION
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3
                     Plaintiff opposes Defendant's request for judicial notice regarding copyright
4
      registration. The assertion that Plaintiff lacks a valid registration is misleading and improper for
5

6     judicial notice. Moreover, the judge has already made this motion moot and terminated. This

7     shows bad faith and harassment and improper conduct to circumnavigate justice and cause more
8
      harm and delays.
9

10
                     II. PLAINTIFF'S COPYRIGHT REGISTRATION STATUS
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12

13                   Plaintiff has submitted a copyright registration application for Bloodborg: The
14
      Harvest, which remains pending. We have already covered this, and the Judge has made moot
15
      and terminated the motion. The M.W. Wolf catalogue of fiction is registered under After the
16
      Black: Buried at Bedlam and 9 Other Unpublished Works. The number is 1-14654214871.
17

18

19                   Per Fourth Estate Public Benefit Corp. v. Wall-Street.com, LLC, a pending
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      application is sufficient for a copyright claim.
21

22
                     III. JUDICIAL NOTICE IS INAPPROPRIATE
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25                   Judicial notice is reserved for indisputable facts, not legal arguments.
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28    PLAINTIFF'S OPPOSITION TO DEFENDANT'S REQUEST FOR JUDICIAL NOTICE AND MOTION TO BIFURCATE
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1                    The existence of a copyright application is a fact requiring discovery, not judicial
2
      notice.
3
                     IV. DEFENDANT'S ATTEMPT TO LIMIT DISCOVERY
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5

6                    Defendant’s request for bifurcation unfairly restricts discovery to "access,"

7     ignoring substantial similarity, damages, and industry practices.
8
                     The court should allow full discovery to proceed concurrently.
9

10
                     V. DEFENDANT’S THREAT OF A PROTECTIVE ORDER IS
11

12    PREMATURE

13

14
                     Plaintiff has the right to request relevant discovery, and Defendant should not
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      preemptively limit that process.
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18                   VI. CONCLUSION

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                     Plaintiff respectfully requests that the Court deny Defendant's request for judicial
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      notice and bifurcation and allow full discovery to proceed.
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28    PLAINTIFF'S OPPOSITION TO DEFENDANT'S REQUEST FOR JUDICIAL NOTICE AND MOTION TO BIFURCATE
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1                                     Evidence of bad faith discovery
2
                               Re: Rule 26(f) Conference & Discovery Scope
3
           Riot must engage in FULL discovery, including financial & creative development
4
                                                  materials.
5

6

7                    Dear Aaron,
8

9
                     Thank you for your email. I acknowledge your correction regarding the timing of
10
      discovery but believe this to be a legal distraction to prevent discovery and to waste time and to
11

12    limit discovery. This was only corrected after I had informed you that you were incorrect as per

13    the Judges order. The order was,
14
                     "The Joint Rule 26(f) Report shall be drafted by plaintiff (unless
15
                     the parties agree otherwise) but shall be submitted and signed jointly. "Jointly"
16
                     contemplates a single report, regardless of how many separately represented
17

18    parties there are. The Joint Rule 26(f) Report shall specify the date of the scheduling

19                   conference on the caption page."
20

21
                     Moreover, as soon as the Judge made your motions to dismiss moot and
22
      terminated, Josh Geller took a month long leave of absence, further hindering the case and
23

24    discovery and I had to send a number of emails to get a response. Additionally, Christian Linke,

25    the “Writer” of Arcane has reportedly resigned causing more harm to the case and to discovery.
26
      I’ve attached the email I sent you today as evidence along with your admittance.
27
                                                      4
28    PLAINTIFF'S OPPOSITION TO DEFENDANT'S REQUEST FOR JUDICIAL NOTICE AND MOTION TO BIFURCATE
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1                    Riot Games' actions—including Josh Geller’s sudden leave of absence, Christian
2
      Linke’s reported resignation, closing down Riot Forge, and their continued delays in responding
3
      to discovery—is viewed as bad faith litigation tactics designed to obstruct the case and hinder
4
      discovery.
5

6                    Given that discovery has already commenced, I expect full cooperation in

7     responding to my discovery requests without further delay. I have provided a discovery plan and
8
      a checklist of which I expect to be used to evidence your engagement in the discovery process.
9

10
                     Regarding your proposal to bifurcate discovery:
11

12

13                   I do NOT agree to bifurcation that limits discovery solely to the issue of access.
14
                     Access is NOT the only threshold issue—substantial similarity, financial
15
      damages, and internal development records must be considered together. Additionally, the Judge
16
      has also made this motion of access moot and terminated.
17

18                   Bifurcation would prejudice my ability to prove infringement, as copyright cases

19    require evaluating multiple factors simultaneously. This would not allow justice nor the case to
20
      be heard on its merits.
21

22
                     Regarding your proposed Motion for Protective Order:
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24

25                   All my discovery requests are relevant to this case and necessary to establish
26
      infringement, damages, and Riot’s internal knowledge.
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                                                      5
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1                    If Riot believes any documents are privileged or unduly burdensome to produce,
2
      it must provide a privilege log with justifications.
3
                     I will oppose any attempt to withhold relevant financial, contractual, or
4
      development materials.
5

6

7

8
                                           Limit discovery to access
9

10
                     Riot is trying to limit discovery to access, delaying full discovery of the
11

12    substantial similarity, financial records, and development logs.

13

14
                     Since discovery was already open, your refusal to engage earlier was improper.
15
                     Given this:
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18                   Riot must now comply fully and cannot delay further.

19                   Any past refusals to provide discovery should be sanctioned.
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28    PLAINTIFF'S OPPOSITION TO DEFENDANT'S REQUEST FOR JUDICIAL NOTICE AND MOTION TO BIFURCATE
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1                    Key Issues & Their Legal Implications
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3
                     JUDGE HAS ALREADY MOOTED & TERMINATED PRIOR MOTIONS TO
4
      DISMISS
5

6

7                    Since the judge terminated Riot’s previous Motions to Dismiss, you cannot re-
8
      argue the same dismissal grounds without new legal justifications, such already failed motions
9
      include copyright registration, failure to state a claim, and an issue of access, and so on.
10

11

12                   If you attempt another Motion to Dismiss, I will argue that it is procedurally

13    improper, harassing, bad faith, and redundant, as your previous motions were terminated by the
14
      judge.
15
                     If you cite new reasons, I demand that you provide clear legal basis instead of
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      attempting to relitigate dismissed arguments.
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1                   Josh Geller’s Absence and Linke’s Resignation Delayed Discovery
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3
                    Geller’s sudden month-long leave of absence after the judge’s ruling caused
4
      unnecessary delays in case progression. Christian Linke’s reported resignation has a negative
5

6     impact on discovery. Linke was the alleged key writer of Arcane and may have critical

7     knowledge of its development.
8

9
                    Legal Issue:
10
                    This is bad faith litigation conduct under FRCP Rule 37 (Failure to Make
11

12    Disclosures or Cooperate in Discovery).

13

14
                    Anymore bad faith will force me to request a court order to enforce compliance
15
      and seek sanctions for discovery misconduct.
16

17

18                  Because of this I request:

19

20
                    1. I Demand Riot Games confirm whether Linke’s emails, Slack messages, and
21
                         internal Riot communications are still available.
22
                    2. I Request that Linke be subpoenaed for deposition to testify about his
23

24                       involvement in Arcane’s development.

25                  3.   If Riot claims they lost access to his records, I will request an adverse
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                         inference sanction, arguing that they intentionally hindered discovery.
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1                   Pattern of Delays & Obstruction
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3
                    Riot Games has repeatedly delayed responses, including:
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                    Refusing pre-litigation discovery.
5

6                   Filing multiple motions to dismiss.

7                   Now proposing bifurcation of discovery to further stall the case.
8

9
                    Legal Issues:
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11

12                  Under FRCP Rule 26(g), parties are required to engage in discovery in good faith.

13                  A pattern of strategic delays can be grounds for sanctions under Rule 37(b)
14
      (Failure to Comply with a Discovery Order).
15

16
                    If delays continue, I will file a Motion to Compel Discovery and request sanctions
17

18    under FRCP Rule 37.

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1     I look forward to discussing these matters further at the Rule 26(f) conference, but I expect that
2
      full discovery will proceed without unnecessary delays or procedural restrictions.
3

4
                     I have prepared documents to aid discovery.
5

6                    Again, I have prepared and sent you.

7                    1. PLAINTIFF’S RULE 26(F) DISCOVERY PLAN (5 Feb 2025)
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                     2. PLAINTIFF’S PRE-LITIGATION DISCOVERY REQUESTS AND RULE
9
                         26(F) CONFERENCE PREPARATION (5 Feb 2025)
10
                     3. REFUSALS TO PROVIDE DISCOVERY (5 Feb 2025)
11

12

13                   I must add, I am dissatisfied with your conduct and disappointed that we have to
14
      conduct the case in this manner. I hoped we had turned a positive corner and that we could
15
      cooperate to aid the court. I still believe there is hope, but I don’t much like threats and shady
16
      tactics. I hope we can have a more pleasant conference without the underhandedness and legal
17

18    tactics to evade proper lawful outcomes. I will warn, I’m still debating which cases I will

19    proceed with, following these proceedings, or perhaps alongside these proceedings. If it
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      continues, I’ll get upset and seek further correction into my wider concerns and complaints.
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1                                         Email Evidence
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28    PLAINTIFF'S OPPOSITION TO DEFENDANT'S REQUEST FOR JUDICIAL NOTICE AND MOTION TO BIFURCATE
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3
      The Plaintiff, Marc Wolstenholme, M.W. Wolf.
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      Date: February 5, 2025
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6     Signed:

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28    PLAINTIFF'S OPPOSITION TO DEFENDANT'S REQUEST FOR JUDICIAL NOTICE AND MOTION TO BIFURCATE
                                              DISCOVERY
